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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Charlottesville Division

       ELIZABETH SINES, et al.,

                          Plaintiffs,                       No. 3:17-cv-00072-NKM

         v.                                                 JURY TRIAL DEMANDED

       JASON KESSLER, et al.,

                          Defendants.

       DEFENDANT MATTHEW HEIMBACH’S CONSENT MOTION FOR EXTENSION OF
               TIME TO FILE RESPONSE TO PLAINTIFFS’ MOTION FOR
                            SANCTIONS AGAINST HIM

              Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Defendant Matthew

   Heimbach respectfully moves this Court for an additional two days to file his response to

   Plaintiffs’ Motion for Sanctions (see ECF Nos. 457, 539) against him.1

              Counsel for Plaintiffs (Michael Bloch, Esq.) has consented to this request.

              Matthew’s response is currently due on September 7, 2021. He asks that the Court issue

   an order granting him permission to file said response on or before Thursday, September 9, 2021.


                                                           Respectfully submitted,




                                                           /s/ Joshua Smith
                                                           Joshua Smith, Esq.
                                                           Pennsylvania Bar ID No. 207585
                                                           Smith LLC
                                                           807 Crane Avenue
                                                           Pittsburgh, Pennsylvania 15216

   1          The undersigned apologizes for the delay.
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                                             (917) 567-3168 (phone)
                                             joshsmith2020@gmail.com

                                             Counsel for Defendants David Matthew
                                             Parrott, Matthew Heimbach, and
                                             Traditionalist Worker Party

   Dated: September 7, 2021




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                                    CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on September 7, 2021, he filed the foregoing with

   the Clerk of Court through the CM/ECF system, which will send a notice of electronic filing to

   all counsel of record in the case, as well as all ECF-registered pro se parties.

          The undersigned further certifies that on September 7, 2021, he served a copy of the

   foregoing on the following non-ECF pro se parties, via electronic mail, as follows:

   Richard Spencer                                       Robert “Azzmador” Ray
   richardbspencer@icloud.com                            azzmador@gmail.com
   richardbspencer@gmail.com
                                                         Elliott Kline a/k/a Eli Mosley
   Vanguard America                                      eli.f.mosley@gmail.com
   c/o Dillon Hopper                                     deplorabletruth@gmail.com
   dillon_hopper@protonmail.com                          eli.r.kline@gmail.com

          The undersigned further certifies that on September 7, 2021, he served a copy of the

   foregoing on the following non-ECF pro se party, via first-class mail, as follows:

   Christopher Cantwell (00991-509)
   USP Marion
   U.S. Penitentiary
   P.O. Box 1000
   Marion, IL 62959


                                                          /s/ Joshua Smith
                                                          Joshua Smith, Esq.
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                                                          Counsel for Defendants David Matthew
                                                          Parrott, Matthew Heimbach, and
                                                          Traditionalist Worker Party


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